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 6
                       IN THE UNITED STATES DISTRICT COURT
 7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,     )        No.   2:09-CR-00436-MCE
                                   )
10                  Plaintiff,     )
                                   )        STIPULATION TO CONTINUE STATUS
11                                 )        CONFERENCE AND EXCLUDE TIME
          v.                       )        UNDER SPEEDY TRIAL ACT; AND
12                                 )        ORDER THEREON
                                   )
13   OBED UR RAHMAN, et al.,       )
                                   )
14                  Defendants.    )
     ______________________________)
15
16        IT IS HEREBY STIPULATED AND AGREED between the defendants, Obed
17   Ur Rahman and Shaker Ahmed, by and through their defense counsel,
18   Randy Thomas and Joseph Wiseman, respectively, and the United States
19   of America by and through its counsel, Assistant U.S. Attorney John
20   Vincent, that the status conference presently set for May 5, 2011 at
21   9:00 a.m., should be continued to June 9, 2011 at 9:00 a.m., and that
22   time under the Speedy Trial Act should be excluded from May 5, 2011
23   through June 9, 2011.
24        The reason for the continuance is that the case is a tax and
25   social security fraud case that is somewhat complex.         Mr. Thomas has
26   been negotiating a plea agreement on behalf of OBED UR RAHMAN with
27   the government and has provided additional information to the
28   government concerning the social security charges.

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 1   The United States will be producing additional discovery to defendant
 2   RAHMAN concerning the Social Security fraud counts in the Indictment.
 3   Additional time will be needed to complete plea negotiations.
 4   Accordingly, the time between May 5, 2011 and June 9, 2011 should be
 5   excluded from the Speedy Trial calculation pursuant to Title 18,
 6   United States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for
 7   defense preparation.   The parties stipulate that the ends of justice
 8   served by granting this continuance outweigh the best interests of
 9   the public and the defendants in a speedy trial. 18 U.S.C.
10   §3161(h)(7)(A).   Mr. Thomas and Mr. Wiseman have authorized Assistant
11   U.S. Attorney Vincent to sign this pleading for them.
12
13   DATED: May 3, 2011                /S/ John K. Vincent
                                      For RANDY THOMAS
14                                    Attorney for Obed Ur Rahman
15
     DATED: May 3, 2011                /S/ John K. Vincent
16                                    For JOSEPH WISEMAN
                                      Attorney for Shaker Ahmed
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18
     DATED: May 3, 2011                /S/ John K. Vincent
19                                    JOHN K. VINCENT
                                      Assistant U.S. Attorney
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 1                                      ORDER
 2        For the reasons set forth above, the Court finds that there is
 3   GOOD CAUSE for the continuance and the exclusion of time, and that
 4   the ends of justice served by this continuance outweigh the best
 5   interests of the public and the defendants in a speedy trial.        The
 6   calendaring change set forth above IS SO ORDERED.
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     Dated: May 4, 2011
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 9                                      _____________________________
10                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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